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       ORDERED in the Southern District of Florida on February 14, 2018.




                                               Laurel M. Isicoff
                                               Chief United States Bankruptcy Judge




_____________________________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                                                                  CASE NO.: 17-23083-BKC-LMI
                                                                PROCEEDING UNDER CHAPTER 13

 IN RE:

 MARY CATHERINE ARROYO

 _____________________________/
 DEBTOR

 ORDER CONTINUING CONFIRMATION HEARING AND MAKING ALL DEBTOR PAYMENTS
                           NON-REFUNDABLE

    THIS CASE came to be heard on February 6, 2018 upon the Confirmation Hearing of the Chapter 13
 Case, and based on the record, it is

    ORDERED as follows:

    1. The Confirmation Hearing is continued to March 6, 2018 at 1:35 pm in Courtroom 8 at
       UNITED STATES BANKRUPTCY COURT, C. CLYDE ATKINS UNITED STATES
       COURTHOUSE, 301 NORTH MIAMI AVENUE, MIAMI, FL 33128.
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           ORDER CONTINUING CONFIRMATION HEARING AND MAKING ALL DEBTOR PAYMENTS NON-REFUNDABLE
                                                                         CASE NO.: 17-23083-BKC-LMI


  2. The Debtor is ordered to continue making payments each month to the Chapter 13 Trustee in
     accordance with the last filed Chapter 13 Plan. Failure to continue payments may result in the
     dismissal of this case.

  3. As a condition for the continued confirmation hearing and delay of payments to creditors, all
     payments held by the Chapter 13 Trustee shall be non-refundable and held in trust for the secured
     creditors as adequate protection, and in trust for priority and administrative creditors.

  4. If this case is dismissed or converted, the Trustee shall disburse all funds which were received
     prior to the order of conversion or dismissal and held in trust. The disbursement shall be on a pro
     rata basis, less Trustee fees, to the secured, priority or administrative creditors pursuant to the
     proposed Chapter 13 Plan which was filed at least one day prior to last confirmation hearing date.


                                                 ###

ORDER SUBMITTED BY:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

COPIES FURNISHED TO:

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